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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
v. Case No. 22-CR-00115-JFH

NICOLE COX,

a/k/a "Nicole Michelle Jenner,"
a/k/ a "Nicole Michelle Cox,"
a/k/ a "Nicole Patterson,"

Defendant.

Plea Agreement Pursuant to
Federal Rule of Criminal Procedure 11(c)(1)(C)

The United States of America, by and through Clinton J. Johnson, United States
Attorney for the Northern District of Oklahoma, and David A. Nasar, Assistant
United States Attorney, and the defendant, NICOLE COX, in person and through
counsel, Michael Noland, respectfully inform the Court that they have reached the
following plea agreement, pursuant to Fed. R. Crim. P. 11(c)(1)(©).

1. Plea

The defendant agrees to enter a voluntary plea of guilty to the following:

COUNT SIX: 21 U.S.C. §§ 846 and 841(b)(1)(A)(viii) - Drug Conspiracy

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as set forth in the Indictment in the instant case, Northern District of Oklahoma, and
admits to being in fact guilty as charged in the count to which the defendant is
pleading guilty.
2. Waiver of Constitutional Rights
The defendant understands that, by pleading guilty, the following constitutional
rights will be relinquished:
a. the right to be indicted if proceeding by Information;
b. the right to plead not guilty;

c. the right to be tried by a jury, or, with the consent of the government, to be
tried by a judge;

d. the right to an attorney at trial, including a court-appointed attorney if the
defendant could not afford an attorney;

e. the right to assist in the selection of the jury;

f. the right to be presumed innocent, and to have the jury instructed that the
government bears the burden to prove the defendant guilty beyond a reasonable
doubt and by a unanimous verdict;

g. the right to confront and cross-examine witnesses against the defendant;

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h. the right to testify on their own behalf and present witnesses in their
defense;

i. the right not to testify, and to have the jury instructed that the decision not
to testify could not be used against the defendant;

j. the right to appeal a guilty verdict to determine if any errors had been

committed during trial that would require either a new trial or a dismissal of the
charges;

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k. the right to have a jury determine beyond a reasonable doubt any facts that
could increase any mandatory minimum or maximum sentence; and

1. any rights and defenses under the Excessive Fines Clause of the Eighth
Amendment to the United States Constitution to the forfeiture of property in this
proceeding or any related civil proceeding, special or other assessment, and any
order of restitution.

By pleading guilty, the defendant will be giving up all of these rights. By pleading
guilty, the defendant understands that they may have to answer questions posed by
the Court, both about the rights that the defendant will be giving up and the factual

basis for the defendant’s plea.

3. Appellate and Post-Conviction Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees to the following

terms:

a. The defendant waives rights under 28 U.S.C. § 1291 and/or 18 U.S.C. §
3742(a) to directly appeal the conviction and sentence, including any fine,
assessment, forfeiture, restitution order, term or condition of supervised release,
or sentence imposed upon a revocation of supervised release; except that the
defendant reserves the right to appeal from a sentence that exceeds the statutory
maximum;

b. The defendant expressly acknowledges and agrees that the government
reserves all rights to appeal the sentence;

c. The defendant waives the right to appeal from the district court’s denial of
any post-conviction motion to reduce the term of imprisonment, supervised
release, or probation, under 18 U.S.C. §§ 3582(c), 3583(e)(1), or 3564(c); and

d. The defendant waives the right to collaterally attack the conviction and
sentence under 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, except
for claims of ineffective assistance of counsel.

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The defendant expressly acknowledges that counsel has explained her appellate

and post-conviction rights; that the defendant understands her rights; and that the

defendant knowingly and voluntarily waives those rights as set forth above.

NICOLE COX

4. Departure and Variance Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees not to request,
recommend, or file a sentencing memorandum or a variance or departure motion
seeking a sentence below the applicable Guidelines range.

5. Freedom of Information Act Waiver

The defendant waives all rights, whether asserted directly or by a representative,
to request or to receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5
U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

6. Rule 11 Rights Waiver

The defendant knowingly and expressly waives all the rights afforded under Rule

11(f) of the Federal Rules of Criminal Procedure. Therefore, in any subsequent

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proceeding, including a criminal trial, the following shall be admissible against the
defendant under Rule 801(d)(2)(A) of the Federal Rules of Evidence:

a. A guilty plea that is later withdrawn or that the defendant seeks to
withdraw, unless done pursuant to Fed. R. Crim. P. 11(c)(1)(Q);

b. The facts that the defendant has admitted under this plea agreement, as
well as any facts to which the defendant admits in open court at the plea hearing, and
any statement made in any proceeding under Rule 11 regarding this plea agreement;
and

c. Any statement made during plea discussions with an attorney or agent for
the government, or that were made pursuant to a proffer letter agreement, that
resulted in a plea of guilty that is later withdrawn, unless done pursuant to Fed. R.
Crim. P. 11(c)(1)(C).

7. Payment of Monetary Penalties

a. Enforcement

1) The defendant waives any defense or objection to any action to enforce
the collection of financial obligations to be imposed in connection with this
prosecution, including, but not limited to, collection procedures authorized by
the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001, et seq., 18
U.S.C. § 3664, or 18 U.S.C. § 3613.

2) The defendant understands and agrees that under 18 U.S.C. § 3613 any
monetary penalties or restitution imposed by the Court will be due and
payable immediately and subject to immediate enforcement by the United
States. If the Court imposes a schedule of payments, the defendant agrees that
the schedule is a minimum schedule of payments and not the only method,
nor a limitation on the methods, available to the United States to enforce the
judgment.

3) The defendant waives any requirement for demand of payment on any
fine, restitution, or assessment imposed by the Court.

4) The defendant agrees that any unpaid obligations will be submitted to
the United States Treasury for offset, so that any federal payment or transfer of

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returned property the defendant receives may be applied to federal debts and
will not be limited by a payment schedule.

5) The defendant agrees that any restitution debt may not be discharged in
any bankruptcy proceeding.

b. Disclosure of Financial Information

1) The defendant agrees to provide complete information regarding all
victims potentially entitled to restitution.

2) The defendant agrees to provide truthful and complete financial
information, as requested by the United States Probation Office for the
preparation of the presentence report.

3) The defendant agrees to complete, under penalty of perjury, the
required financial statement form not later than two weeks after the Court
accepts this plea agreement. The defendant agrees to update any material
changes in circumstances, as described in 18 U.S.C. § 3664(k), within seven
days of the event giving rise to the changed circumstances.

4) The defendant agrees to submit, before and after sentencing, to
depositions and interviews regarding the defendant’s financial status, as
deemed necessary by the United States Attorney’s Office.

5) The defendant authorizes the United States Attorney’s Office to obtain
the defendant’s credit report. The defendant also agrees to provide waivers,
consents, or releases, valid for 120 days after sentencing, to allow the U.S.
Attorney’s Office to access records to verify financial information.

6) The defendant authorizes the United States Attorney’s Office to inspect
and copy all financial documents and information held by the U.S. Probation
Office.

7) The defendant’s failure to timely and accurately complete and sign the
financial statement, and any necessary updates, may, in addition to any other
penalty or remedy, constitute a failure to accept responsibility under U.S.S.G
§ 3E1.1.

8) The defendant agrees to pay the special assessment in full before
sentencing and to provide proof of that payment.

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8. Special Assessment

a. The defendant hereby agrees to pay the total Special Monetary Assessment
($100 per felony count) to the United States District Court Clerk before the
sentencing hearing or as otherwise directed by the District Court.
9. Factual Basis and Elements
To convict defendant under 21 U.S.C. §§ 846 and 841(b)(1)(A)(viii), the
government must prove the following elements beyond a reasonable doubt:

a. The defendant agreed with at least one other person to violate federal
drug laws;

b. The defendant knew the essential objective of the conspiracy;

c. The defendant knowingly and voluntarily participated; and

d. There was interdependence among the members of the conspiracy; that
is, the members, in some way or manner, intended to act together for

their shared mutual benefit within the scope of the conspiracy charged.

e. The overall scope of the conspiracy involved over 500 grams of a
substance containing a detectable amount of methamphetamine.

With regard to the factual basis required by Federal Rule of Criminal Procedure
11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea
of guilty and relieves the United States of any further obligation to adduce such
evidence.

The defendant, NICOLE COX, admits to knowingly, willfully and intentionally

committing or causing to be committed the acts constituting the crime alleged in

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Count Six in the instant case, and confesses to the Court that the defendant is, in
fact, guilty of such crime.

I, Nicole Cox, admit that from in or about April 2021 to on or about
October 1, 2021, in the Northern District of Oklahoma and elsewhere, I
conspired with others to possess with the intent to distribute and to
distribute 500 grams or more of a mixture and substance containing a
detectable amount of methamphetamine. Specifically, during this time
period, I distributed kilogram amounts of methamphetamine to other
members of the conspiracy in Tulsa, Oklahoma. I did this at the
direction of another member of the drug conspiracy, and there was
interdependence among the members. I benefited from my involvement
in the conspiracy by making a profit off of the drugs I helped distribute.

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NICOLE COX Date
Defendant

10. Further Prosecution

The United States shall not initiate additional criminal charges against the
defendant in the Northern District of Oklahoma that, as of the date of the
defendant’s acceptance of this agreement, arise from its investigation of the
defendant’s actions and conduct giving rise to the instant Indictment, save and
except crimes of violence and criminal acts involving violations investigated by the
United States Internal Revenue Service. The defendant understands, however, that
this obligation is subject to all “Limitations” set forth below, and that the United
States Attorney’s Office for the Northern District of Oklahoma is free to prosecute

the defendant for any illegal conduct (i.e., violation of federal criminal laws) not

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discovered by or revealed to the government during its investigation or occurring
after the date of this agreement.

11. Dismissal of Remaining Counts

If the Court finds the defendant’s plea of guilty to be freely and voluntarily made
and accepts the plea, then the United States will move, at the appropriate time, to
dismiss the remaining counts in the instant case, if any, as to this defendant.

Except as provided in Fed. R. Crim. P. 11(c)(1)(C), if the defendant’s guilty plea
is rejected, withdrawn, vacated, or reversed at any time, any charges that have been
dismissed may be reinstated or re-presented to a grand jury, and the government will
be free to prosecute the defendant for all charges. Under these circumstances, the
defendant waives any right to argue that the Double Jeopardy clause bars the
defendant’s federal prosecution, as well as any objections, motions, or defenses based
upon the applicable statute of limitations, the Speedy Trial Act, or constitutional
restrictions as to the timeliness of any renewed charges.

12. Acceptance of Responsibility

Provided the defendant clearly demonstrates acceptance of responsibility, the
government agrees to recommend a two-level reduction in offense level pursuant to
U.S.S.G. § 3E1.1. The government agrees to file a motion recommending that the
Court grant an additional one-level reduction under U.S.S.G. § 3E1.1(b), if the
defendant’s Guidelines offense level qualifies her for such a reduction. The

sentencing judge is in a unique position to evaluate the acceptance of responsibility,

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and the Court will ultimately decide whether to apply any § 3E1.1 reduction for
timely acceptance of responsibility.

Any agreement to recommend an acceptance-of-responsibility reduction is
contingent upon the defendant's continuing manifestation of acceptance of
responsibility as determined by the government. If the defendant (1) falsely denies, or
makes conflicting statements as to, her involvement in the crime to which she is
pleading, (2) falsely denies or frivolously contests conduct that the Court determines
to be relevant conduct as defined in USSG § 1B1.3, (3) willfully obstructs or attempts
to obstruct or impede the administration of justice as defined in USSG § 3C1.1, (4)
perpetrates or attempts to perpetrate crimes while awaiting sentencing, or (5)
advances false or frivolous issues in mitigation, the government expressly reserves
the right to withdraw any recommendation regarding acceptance of responsibility
without breaching the agreement.

13. Sentence

a. Imprisonment

The defendant acknowledges that under 21 U.S.C. §§ 846 and 841(b)(1)(A)(viii)
the minimum mandatory statutory sentence is 120 months of imprisonment, the
maximum statutory sentence is life imprisonment and a fine of not more than

$10,000,000.

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b. Supervised Release

Additionally, the defendant is aware, if imprisonment is imposed, that the Court
must include as part of the sentence a requirement that after imprisonment the
defendant be placed on a term of supervised release of at least five years. Violation of
any condition of supervised release may result in revocation, or modification of the
conditions, of supervised release, which may in turn result in additional incarceration
consistent with 18 U.S.C. § 3583(e).

c. Guidelines

The defendant is aware that the Sentencing Guidelines are advisory. The Court,
while not bound to apply the Sentencing Guidelines, must consult those Guidelines
and take them into account when sentencing.

The defendant is further aware that the Court determines the sentence, that the
Court has not yet done so, and that any estimate of the sentence — received from any
source — is a prediction, not a promise. Regardless of any estimate the defendant has
received, the Court has discretion to impose any sentence up to and including the
statutory maximum.

14. Stipulations

The defendant and the United States agree and stipulate to the following facts:

a. Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the appropriate disposition in this
case is a sentencing range of 120 to 150 months of imprisonment. This stipulated

sentence departs downward from the anticipated guideline calculation for the

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violations to which the defendant is pleading guilty. The parties have considered
various factors in fashioning this sentence, including the defendant’s relevant
conduct, full acceptance of responsibility, the strength of the evidence, litigation risk,
length of sentence, preservation of investigative and prosecutive resources, witness
safety, docket congestion, judicial economy, certainty of conviction, and the interests
of justice. For these reasons, a sentencing range of 120 to 150 months of
imprisonment meets the sentencing goals for this type of case and this defendant.
The parties agree upon this sentence regardless of any advisory Sentencing
Guidelines calculations.

b. The parties agree that the defendant may withdraw her plea of guilty in the
event that the Court rejects the plea agreement.

The defendant understands that neither the Court nor the United States Probation
Office is bound by the foregoing stipulations, either as to questions of fact or as to
determination of the correct advisory sentencing guideline calculation.

Having been fully apprised by defense counsel of the right to seek compensation
pursuant to Public Law 105-119, the defendant WAIVES any and all such right, and
stipulates that defendant is not a “prevailing party” in connection with this case.

15. Limitations

This plea agreement shall be binding and enforceable upon the Office of the
United States Attorney for the Northern District of Oklahoma, but in no way limits,

binds or otherwise affects the rights, powers, duties or obligations of any state or

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local law enforcement agency, administrative or regulatory authorities, civil or
administrative enforcement, collection, bankruptcy, adversary proceedings or suits
which have been or may be filed by any governmental entity, including without
limitation, the Internal Revenue Service, the Tax Division of the Department of
Justice and the trustee in bankruptcy.

16. Breach of Agreement —

In the event either party believes the other has failed to fulfill any obligations
under this agreement, then the complaining party shall, in its discretion, have the
option of petitioning the Court to be relieved of its obligations herein. The Court
shall determine whether a party has completely fulfilled all its obligations under this
agreement in an appropriate proceeding at which any disclosures and documents
provided by either party shall be admissible and at which the complaining party shall
be required to establish any breach by a preponderance of the evidence. If the Court
determines that the defendant has breached the plea agreement, the government may
declare this agreement null and void, and the defendant will be subject to prosecution
for any criminal violation, including but not limited to any crimes or offenses
contained in or relating to the charges in this case, as well as false statement,
obstruction of justice, or any other crime committed by the defendant during this
prosecution.

The defendant hereby WAIVES any right under Rule 11(d) and (e) of the Federal

Rules of Criminal Procedure to withdraw from the guilty plea or this agreement, save

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and except under circumstances where the Court rejects the plea agreement under
Rule 11(c)(5), except if the Court determines that the government has breached the
plea agreement as set forth above, and except as provided in Fed. R. Crim. P.
11(c)(1)(C).

Except as provided in Fed. R. Crim. P. 11(c)(1)(C), if NICOLE COX, after entry
of a plea of guilty, unsuccessfully attempts to withdraw that guilty plea, the
government may continue to enforce the agreement but will no longer be bound by
any particular provision in this agreement, unless the Court determines that the

government acted in bad faith to bring about the attempted plea withdrawal.

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17. Conclusion

No agreements, representations or understandings have been made between the
parties in this case, other than those which are explicitly set forth in this plea
agreement and the Plea Agreement Supplement that the United States will file in this
case (as it does in every case, even if there are no additional terms) and none will be
entered into unless executed in writing and signed by all of the parties.
SO AGREED:

CLINTON J. JOHNSON
UNITED STATES ATTORNEY

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DAVID A. NASAR™ Dated
Assistant United States Attorney

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MICHAEL NOLAND Dated
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NICOLE COX Dated

Defendant

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I have read this agreement and carefully reviewed every part of it with my
attorney. I understand it, and I voluntarily agree to it. Further, I have consulted with
my attorney and fully understand my rights with respect to sentencing which may
apply to my case. No other promises or inducements have been made to me, other
than those contained in this pleading. In addition, no one has threatened or forced
me in any way to enter into this agreement. Finally, I am satisfied with the

representation of my,attorney in this matter.

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NICOLE COX Dated
Defendant

I am counsel for the defendant in this case. I have fully explained to the defendant
the defendant’s rights with respect to the pending Indictment. Further, I have
reviewed the provisions of the Sentencing Guidelines and Policy Statements and I
have fully explained to the defendant the provisions of those Guidelines which may
apply in this case. I have carefully reviewed every part of this plea agreement with

the defendant. To my knowledge, the defendant’s decision to enter into this

agreement is an info: nd voluntary one.

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MICHAEL NOLAND Dated
Counsel for the endant

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